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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN and WANDREA’ MOSS,



                        Plaintiffs,

        v.                                                           No. 23-cv-3754-BAH

 RUDOLPH W. GIULIANI,

                        Defendant.



     NOTICE OF ADDITIONAL INFORMATION IN SUPPORT OF PLAINTIFFS’
                     MOTION FOR CIVIL CONTEMPT

       Plaintiffs Ruby Freeman and Wandrea’ Moss respectfully submit this notice of additional

information that came to the attention of Plaintiffs as they were preparing for the hearing regarding

their Motion for Civil Contempt (“Motion”) and reply in support thereof. ECF Nos. 19, 35.

Plaintiffs submit that this information is relevant to the Court’s consideration of the Motion,

particularly in light of Defendant’s argument that:

               If Giuliani were bent on violating the Consent Judgment, Plaintiffs
               and their army of lawyers would have found more than the handful
               of statements they themselves concede only ‘indirectly’ relate to
               Plaintiffs. In the overall context of Giuliani’s substantial podcast
               output, the few seconds Giuliani has devoted to his opinions in the
               Freeman I case represent, if anything, a de minimis violation.

ECF No. 34 at 14.

       On November 19, 2024, Defendant Giuliani aired another episode of America's Mayor

Live, titled America's Mayor Live (542): Live Coverage of Trump Transition 2024: Day 14 where

he stated “You know the tapes in at the Arena…at the State Arena in Atlanta…uh they threw out
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all the people that were observing the vote count, uh closed the doors. All of a sudden um these

two ladies and several others shoo everybody out. Everybody's gone. Close down the

Arena.…They make one more casing of the joint, now this is not on the tape anymore, used to be,

casing of the joint and then all of a sudden they have a covered over table that uh hadn't been used

all day to take any ballots out and when nobody was around they pull up, pull up the and they take

five bins out and turn them over to the people counting and you can see them quadruple

counting.” Houghton-Larsen Decl. ¶ 5.

       On November 21, 2024, Defendant Giuliani aired another episode of America’s Mayor

Live, titled America's Mayor Live (544): Live Coverage of Trump Transition 2024: Day 16, in

which he commented on the injunction and the Motion, stating “to hell with it, the minute they

started criticizing me I said it’s over… so the hell with it… I mean Jesus there, it's like a little

ridiculous. I have a video showing them counting votes. I have a video.” Houghton-Larsen

Decl. ¶ 6.




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Dated: January 10, 2025             Respectfully submitted,

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